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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO


 DAN COPELAND,                                      CASE NO. 4:10-CV-00089

                                      Plaintiffs,
 vs.
                                                    COMPLAINT AND DEMAND FOR
 COUNTY OF BANNOCK, STATE OF                        JURY TRIAL
 IDAHO; ROBERT POLEKI, individually
 and in his capacity as a County Clerk for the
 County of Bannock, TOM SELLERS,
 individually

                                    Defendants.

       COMES NOW Dan Copeland, by and through his attorneys of record, May Rammell &
Wells, Chtd., and hereby files this Complaint against Defendants as follows:
                                PRELIMINARY STATEMENT

       This is a civil rights action in which the Plaintiff seeks relief from Defendants for their
violations of Plaintiff’s rights guaranteed by the United States Constitution. These rights are
further secured by the Civil Rights Act of 1871, codified as 42 U.S.C. §§1983 and 1988, and by
the laws and the Constitution of the State of Idaho. Plaintiff seeks compensatory and punitive
damages; affirmative and equitable relief; an award of attorney fees, costs and interest; and other
and further relief as this Court deems just and equitable.
                               JURISDICTION AND PARTIES

       1.      This Court has jurisdiction over this action under the laws of the State of Idaho

               and the United States, including 42 U.S.C. §§ 1983, 1988.



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     2.    This action arises under the United States Constitution and federal law, including
           the provisions of the Fifth and Fourteenth Amendments to the Constitution of the
           United States, and 42 U.S.C. §§§ 1983, 1985 and 1988, and Idaho law.
     3.    This Court has jurisdiction over these claims pursuant to 28 U.S.C. §1343 and 42
           U.S.C. §1983.
     4.    At all times relevant to this cause of action, Plaintiff Dan Copeland was a resident

           of Bannock and Bingham Counties, State of Idaho.

     5.    At all material times, Dan Copeland was not a public figure.

     6.    Bannock County is a political subdivision of the State of Idaho.

     7.    Defendant Robert Poleki is a resident of Bannock County, State of Idaho.

     8.    Defendant Robert Poleki is sued in his individual capacity and in his capacity as

           County Clerk for the County of Bannock in Idaho.

     9.    Defendant Tom Sellers is a resident of Bannock County, State of Idaho.

           Defendant Tom Sellers is sued in his individual capacity.

     10.   All Defendants are sued pursuant to 42 U.S.C. § 1983, and Chapter 9, Title 6

           Idaho Code.

     11.   A Notice of Tort Claim pursuant to Idaho Code Title 6, Chapter 9, was submitted

           to Bannock County on August 30, 2017.

                                            FACTS

     12.   The preceding paragraphs are renewed and incorporated herein by this reference.

     13.   Dan Copeland worked for Bannock County for nearly 13 years in the Public

           Works Department.

     14.   He began working for Bannock County on approximately March 9, 2004.




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     15.   By the time he began working for Bannock County, he had cultivated and

           acquired considerable skills in all phases of road construction, construction

           management, reclamation and environmental clean up.

     16.   Mr. Copeland had cultivated a reputation that would have allowed him to

           participate in work or business opportunities that were equal to or more lucrative

           than the work he decided to take at Bannock County as a Road and Bridge

           Superintendent.

     17.   In part, Mr. Copeland took the position at Bannock County because his wife was

           from Southeast Idaho, and he wanted to work in a place where he could spend

           time with her and his family and avoid extensive travel and absences from home.

     18.   At least one County commissioner called him one of the best and hardest workers

           in the County.

     19.   Throughout his time working at Bannock County, Mr. Copeland was given

           increasing responsibility.

     20.   He started as a Road and Bridge Superintendent, and as he was given more work

           and placed in charge of additional departments, the title of his position became

           Public Works Director.

     21.   Circumstances began to change in late March of 2017, when Bannock County

           Clerk, Robert Poleki, began making statements or publishing information which

           impugned the honesty, integrity, virtue and reputation of Dan Copeland.

     22.   Sometime in the spring of 2017, Mr. Poleki concluded that $623,000 or more in

           money was missing from the Bannock County Landfill budget.



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     23.   Around the same time, he decided that Mr. Copeland was responsible for the

           shortfall and other discrepancies.

     24.   He instigated an investigation and forensic audit into Mr. Copeland.

     25.   As part of his investigation and audit, neither he nor his investigators spoke with

           the former Chairman of the Bannock County Commissioner’s office in charge of

           the Public Works Department, Howard Manwaring.

     26.   Had he or his investigators spoken to Mr. Manwaring, he would have discovered

           that Mr. Manwaring and then Deputy County Prosecuting Attorney, Jared

           Johnson, had interviewed individuals about Mr. Copeland and had concluded

           there was no basis to believe any criminal activity had occurred.

     27.   As an elected official, not answerable to the Bannock County Commissioner’s

           office, however, Mr. Poleki pushed the audit and investigation into Mr. Copeland.

     28.   As Mr. Poleki, on behalf of himself and the county, began making public

           statements about the investigation and the alleged necessity of an audit, Mr.

           Copeland attempted to defend himself, but was denied the information, records or

           opportunity to adequately do so.

     29.   Mr. Copeland made records requests for county records, including the audit and

           investigation records to enable him to respond.

     30.   He was denied access to the records he requested.

     31.   Because he was merely an employee of Bannock County, without access to the

           investigation, Mr. Copeland did not have the power to publicly refute the




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           statements and inferences that Mr. Poleki and Bannock County were making

           against him in the media.

     32.   Around January 10, 2019, Mr Poleki and Bannock County released the audit and

           investigative reports to the press.

     33.   The Defendants never released the audit and reports to Mr. Copeland prior to their

           release of the records and information to the press, despite Mr. Copeland’s public

           records requests.

     34.   Mr. Copeland was not aware of the contents of the reports or audit until January

           of 2019, and was therefore unable to respond to the allegations until they were

           published to the public by Defendants.

     35.   Mr. Copeland and his family have been forced to endure intense scrutiny, hatred,

           contempt and public ridicule as a result of the defamatory and libelous statements

           made by Mr. Poleki and Bannock County.

     36.   The statements made by Mr. Poleki while representing Bannock County as its

           clerk, include verbal and written words to the press, employees of Bannock

           County, and the public.

     37.   Sometime prior to taking the “bully pulpit” on behalf of himself and Bannock

           County on January 10, 2019, Mr. Poleki had received information that there

           would be no prosecution of Mr. Copeland for criminal or other misconduct.

     38.   Dissatisfied with the result, Mr. Poleki, on behalf of himself and Bannock County,

           decided to go to the press and malign Mr. Copeland once again, by publishing

           defamatory information.



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     39.        Over the course of nearly 2 years, Mr. Poleki, individually and on behalf of

                Bannock County, Idaho repeatedly published defamatory information against Dan

                Copeland, causing this lawsuit.

     40.        Beginning with the most recent publications, the information published by

                Defendants includes but is not limited to:

           a.   On January 10, 2019, during a Thursday afternoon press conference at the

                Bannock County Courthouse, Mr. Poleki, representing Bannock County, said

                that he had “found illegal activities” by Mr. Copeland and that Mr. Copeland did

                “whatever he wanted” while working for the county.

           b.   On January 10, 2019, Mr. Poleki, representing Bannock County, said “It’s

                disappointing to me as County Clerk that we did not press charges against Mr.

                Copeland.” “Illegal things happened,” and, “I can only imagine what was not

                found.”

           c.   On January 10, 2019, Mr. Poleki stated, “My job as a county auditor was to look

                into the numbers. When we saw discrepancies and asked for those reports, and

                those things weren’t provided to my office, we started digging into the books and

                asking (county) employees.” “That’s when we found illegal activities.”

           d.   On January 10, 2019, Mr. Poleki said that several employees voiced concerns to

                a county liaison who reported public works issues to the county commission. He

                then said the commission did nothing.

           e.   Previously, Mr. Poleki, representing Bannock County, had publicly implied that

                Mr. Copeland had stolen or misappropriated over $623,000 from the County.



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        f.   Throughout March of 2017 and January of 2019, Mr. Poleki, representing

             Bannock County, publicly implied that Mr. Copeland acted as if he were above

             the law, repeatedly engaged in criminal activity and self dealing at the public’s

             expense, and committed criminal acts so frequently that even an investigation

             and audit could not reveal the full extent of Mr. Copeland's criminal activities.

        g.   Mr. Poleki, representing Bannock County, also implied to the public that Mr.

             Copeland not only criminally stole money from the public, but that he caused the

             County to exhaust and waste money on auditing expenses in order to prove that

             Mr. Copeland was a crook.

        h.   On January 10, 2019, Defendants published a confidential report which accused

             Mr. Copeland of having nefarious and criminal relations with Michaelson

             Construction.

        i.   On the date of publication, Defendants implied that Mr. Copeland abused his

             position of trust with the community and committed criminal acts, including

             exploiting personal contacts and relationships with companies like Michaelson

             Construction, who mutually benefited from Mr. Copeland’s illegal activities.

        j.   On January 10, 2019, Mr. Poleki said the investigation cost around $2,000 to

             complete.

        k. On January 10, 2019, Mr. Poleki told KIFI/KIDK local news channel “We found

             a minimum of $6,000 - $7,000 that was used to improve Mr. Copeland’s

             home…misuse of employee time and equipment,”




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        l. Mr. Poleki further said, “But what we didn’t find…I know there’s more, I know

             there’s more out there.”

        m. Mr. Poleki’s statements implied that he was personally aware of even more

             criminal misconduct by Mr. Copeland, but that the County had simply chosen to

             allow Mr. Copeland to get away with it.

        n. Mr. Poleki, representing Bannock County, implied that Mr. Copeland bilked the

             public out of a “minimum” of $6,000-$7,000 and implied he stole substantially

             more.

        o. Mr. Poleki’s statements in January of 2019, made individually and while Mr.

             Poleki was acting as a representative of Bannock County, combined with

             statements made in March 2017 and in the fall of 2018, implied that Mr. Copeland

             was an embezzler, and that he had embezzled over $623,000 from the county.

        p. On March 14, 2017, Mr. Poleki, addressing the audit he initiated, was quoted in

             the Idaho State Journal as saying, “the audit will look at all Public Works funds

             and billing information. We've known for several months now that there were

             financial issues in the department and we are taking a proactive approach to

             continue to protect taxpayer dollars.”

        q.   On March 14, 2017, Mr. Poleki claimed the county had discovered financial

             discrepancies in the County’s landfill budget and public works department,

             revealing that $623,000 was missing.

        r.   These statements were later republished in the Idaho State Journal on August 6,

             2018.



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        s.   Mr. Poleki, as a representative of Bannock County, implied that the discrepancy

             was the result of Mr. Copeland’s misconduct, such as theft or embezzlement.

        t.   As evidenced by social media and public responses to various news articles

             (repeating the unfounded accusations the Mr. Copeland was a thief and

             embezzler and had stolen $623,000 from the County landfill budget) the

             implication was repeated throughout August of 2018 and later.

        u.   At other times in August of 2018, Mr. Poleki, as a representative of Bannock

             County, published that $623,000 in county funds was missing, and implied that

             Mr. Copeland was criminally responsible.

        v.   As a result of the statements, news outlets, including the Idaho State Journal,

             published articles addressing the $623,000 shortfall.

        w. In response to Mr. Poleki’s and Bannock County’s statements, multiple people

             commented in the newspaper and social media, repeating the false allegations

             that Mr. Copeland was a thief and a crook and had stolen $623,000 from the

             county.

        x. At one point, when asked whether Mr. Poleki was stating that Mr. Copeland had

             stolen the $623,000, and whether Mr. Copeland’s leaving his employment with

             the County was related to criminal misconduct, Mr. Poleki declined to comment;

             creating the implication that Mr. Copeland had in fact left his position with the

             County because of criminal misconduct.

        y. The initial allegations began at least as early as and around March 14, 2017, when

             Mr. Poleki, representing Bannock County, spoke with the Idaho State Journal and



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              stated: “We've known for several months now that there were financial issues in

              the department and we are taking a proactive approach to continue to protect

              taxpayer dollars,” and “The commissioners are looking at options to restructure

              the department.”

           z. Mr. Poleki and the County’s statements, particularly in context of the other

              statements, implied Mr. Copeland was an embezzler and a thief, and was

              responsible for the $623,000 missing from the county landfill budget and other

              misconduct.

     41.      The audits and investigations conducted in the case ultimately proved that the

              allegations published by Defendants were false.

     42.      Even after receiving and reviewing the audit and records, however, Mr. Poleki

              and Bannock County continued to publish that Mr. Copeland was a crook.

     43.      Mr. Poleki and Bannock County clearly implied that Mr. Copeland was a criminal

              who “got away with with it” on a mere technicality.

     44.      All Defendants, knew or should have known, that the implications they created in

              publishing the statements they made about Mr. Copeland, the missing money and

              other misconduct were not truthful and would damage Mr. Copeland.

     45.      Defendant Tom Sellers participated with Mr. Poleki and Bannock County, in the

              alleged investigation, and defamation of Mr. Copeland’s good name.

     46.      Detective Tom Sellers of the Idaho State Police, acting in concert with or under

              Mr. Poleki and or Bannock County’s direction, created police reports with

              slanderous and untrue or misleading information.



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     47.   According to individuals whose alleged statements were in Mr. Sellers’ reports,

           Mr. Sellers threatened them and pressured them to misstate the facts.

     48.   Mr. Sellers prepared police reports which he knew or should have known would

           become public documents.

     49.   Many of the statements in Mr. Seller’s reports, which were published to the public

           on January 10, 2019 were defamatory to Mr. Copeland.

     50.   Many statements in the public reports were prepared by Mr. Sellers or under his

           direction and were made with reckless disregard for the truth of those statements.

     51.   According to a follow-up investigation, conducted by the county, Mr. Sellers

           coerced, threatened or otherwise caused witnesses to make untrue statements

           about Mr. Copeland.

     52.   The untrue statements obtained as a result of M. Sellers’ coercion, threats, or

           mischaracterizations were relied upon by Deaton and Company, who prepared a

           forensic audit that Mr. Poleki and Bannock County published.

     53.   The untrue statements obtained as a result of Mr. Sellers’ coercion, threats, or

           mischaracterizations were relied upon by the public.

     54.   As a result of Mr. Sellers actions and reckless disregard for Mr. Copeland’s rights,

           a slanderous, inaccurate and untrustworthy forensic audit was published to the

           public.

     55.   As a result of the untrue findings in the audit, Mr. Copeland was subjected to

           scorn, ridicule, and destruction of his reputation.




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     56.   Individuals repeated and perpetuated the false perception that Mr. Copeland was a

           crook, including a thief and embezzler, as implied by Mr. Sellers, Mr Poleki, and

           Bannock County.

     57.   Mr. Poleki acted in conspiracy or consort with Mr. Sellers in making false

           statements and creating the false impression to the public that Mr. Copeland was a

           crook; stealing public money and property.

     58.   Mr. Poleki and Bannock County, acted recklessly and/or maliciously when they

           published reports and the audit that had been established to be untrue and/or

           misleading.

     59.   As a result of the publications, Mr. Copeland has been the subject of public and

           private shaming and his reputation has been signicantly damaged.

     60.   Mr. Copeland’s ability to work in his field of expertise has been compromised,

           and he has been required to relocate and take work out of the State of Idaho

           because of Defendants’ actions.

     61.   The Defendants’ actions were in most instances malicious and/or wanton;

           contrary to state, federal and constitutional law, and in some instances negligent

           and/or reckless.

     62.   Plaintiff Dan Copeland suffered actual injury to his reputation and job seeking

           ability as a result of the Defendant’s actions.

                                        COUNT I
                                       Due Process

     63.   The preceding paragraphs are realleged and fully incorporated herein by this

           reference.


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     64.   The Fourteenth Amendment guarantees individuals the right to procedural due

           process when “a constitutionally protected property or liberty interest is at stake.”

           Summers v. City of McCall,​ 84 F. Supp. 3d 1126, 1149 (D. Idaho 2015).

     65.   “The government may not deprive a person of the freedom ‘to engage in any of

           the common occupations of life’ without due process.” ​Summers v. City of

           McCall,​ 84 F. Supp. 3d 1126, 1149 (D. Idaho 2015).

     66.   The United States Constitution guarantees Mr. Copeland the right against any

           government taking of his liberty and/or property without due process of law

           pursuant to the Fourth and Fifth Amendments, which has been applied to the

           separate states pursuant to the Fourteenth Amendment.

     67.   Mr. Copeland has a constitutional property and/or liberty interest in his reputation

           and ability to work in his chosen profession.

     68.   The injury to Mr. Copeland’s reputation was inflicted in violation of a federally

           protected right; and the injury to reputation caused the denial of a federally

           protected right. ​Herb Hallman Chevrolet, Inc. v. Nash-Holmes,​ 169 F.3d 636, 645

           (9th Cir. 1999).

     69.   “[C]ertainly where the State attaches ‘a badge of infamy’ to the citizen, due

           process comes into play.” ​Smith v. State,​ 146 Idaho 822, 827, 203 P.3d 1221,

           1226 (2009).

     70.   Defendants attached a badge of infamy to Mr. Copeland by publishing claims of

           dishonesty, theft and misappropriation of public funds and by labeling him a thief,

           a liar and a criminal.



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     71.   “Failure to provide a ‘name-clearing’ hearing in such a circumstance is a violation

           of the Fourteenth Amendment's due process clause.” ​Cox v. Roskelley,​ 359 F.3d

           1105, 1110 (9th Cir. 2004). “[W]here a person’s good name, reputation, honor, or

           integrity is at stake because of what the government is doing to him, notice and an

           opportunity to be heard are essential.” ​Board of Regents of State Colleges,​ 408

           U.S. at 573 (internal quotation and citation omitted). ​Summers v. City of McCall,​

           84 F. Supp. 3d 1126, 1151 (D. Idaho 2015).

     72.   The information published by Defendants was published with knowledge that it

           was false and/or with reckless disregard of whether it was false or not. ​N.Y. Times

           Co. v. Sullivan​, 376 U.S. 254, 280, 84 S. Ct. 710, 726 (1964).

     73.   28 U.S. Code § 4101 defines defamation as: false speech which has caused

           damage to a person’s reputation or emotional distress by presenting any person in

           a false light, resulting in criticism, dishonor, or condemnation of any person.

     74.   Mr. Copeland was never given an opportunity for a hearing to address and dispute

           the County’s allegations prior to Defendant’s statements to the public and the

           press.

     75.   Defendants violated Mr. Copeland’s right to due process of law in violation of the

           Fourth, Fifth and/or Fourteenth Amendments to the ​United States Constitution​, ​42

           U.S.C. § 1983 and the ​Idaho Constitution​, Article I, Section 1 when they

           published false accusations to the entire community and state in the Idaho State

           Journal without providing a hearing or due process, which destroyed Mr.




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           Copeland’s good name, reputation and honor, along with his ability to obtain

           work in his chosen profession.

     76.   Due process protections are required where the state “makes a charge of

           ‘dishonesty,’ or attaches a ‘stigma’ to an employment decision....” ​Summers v.

           City of McCall,​ 84 F. Supp. 3d 1126, 1149 (D. Idaho 2015).

     77.   The statements and accusations published by Defendants were stigmatizing and

           false. ​Summers v. City of McCall​, 84 F. Supp. 3d 1126, 1150 (D. Idaho 2015)

     78.   “Accusations of dishonesty or immorality are sufficiently stigmatizing to

           implicate a liberty interest.” ​Summers v. City of McCall​, 84 F. Supp. 3d 1126,

           1150 (D. Idaho 2015).

     79.   Defendants’ actions herein were intentional and/or reckless, entitling Plaintiff to

           punitive damages, such as may be allowed by law.

     80.   At all times described herein Mr. Poleki and Mr. Sellers were acting within the

           course and scope of their employment.

     81.   At all times described herein Mr. Poleki and Mr. Sellers were acting under color

           of statute, ordinance, regulation, custom and usage of the state of Idaho and

           Bannock County.

     82.   In his position as Bannock County Clerk, Mr. Poleki was an elected official and

           final decision and policy maker.

     83.   Mr. Copeland is entitled to attorney’s fees and costs for the maintenance of this

           action pursuant to ​42 U.S.C. § 1988​ and ​I.C. 12-217.​




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                                            COUNT II
                                     Constitutional Defamation

     84.   The preceding paragraphs are realleged and fully incorporated herein by this

           reference.

     85.   Mr. Copeland has a constitutional property and/or liberty interest in his reputation

           and ability to work in his chosen profession.

     86.   Mr. Poleki, Mr. Sellers, and Bannock County inflicted harm on Dan Copeland by

           publishing information which labeled him a criminal and thief of public funds.

     87.   At all times described herein Mr. Poleki and Mr. Sellers were acting within the

           course and scope of their employment.

     88.   At all times described herein Mr. Poleki and Mr. Sellers were acting under color of

           statute, ordinance, regulation, custom and usage of the state of Idaho and Bannock

           County.

     89.   As Bannock County Clerk, Mr. Poleki was an elected official and final decision

           and policy maker.

     90.   Defamation by a government official forms the basis of a constitutional slander

           case under ​42 USC §1983​, where there is otherwise independent harm resulting

           from the event. ​Cooper v. Dupnik​, 963 F.2d 1220 (9th Cir. 1992).

     91.   The United States Constitution guarantees Mr. Copeland the right against any

           government taking of his liberty and/or property without due process of law, which

           has been applied to the separate states pursuant to the Fourteenth Amendment.

     92.   Defendants deprived Mr. Copeland of a constitutionally protected property and/or

           liberty interest when Bannock County, Bannock County Clerk Robert Poleki and


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           Idaho State Policeman Tom Sellers published defamatory information about him

           without providing him the opportunity to clear his name.

     93.   Defendants acted, individually and/or in concert, under color of state law when

           they violated Mr. Copeland’s Fifth and/or Fourteenth Amendment rights by

           defaming him, ruining his reputation, making it difficult for him to obtain

           employment in his chosen field, taking from him the property and liberty interests

           he possesses in his good name and reputation, and depriving him of his interest in

           clearing his name.

     94.   Defendants’ conduct in making the above stated accusations, made without

           reliable proof, and knowing they were unfounded is so reckless and irresponsible

           that it shocks the conscience.

     95.   Mr. Copeland is entitled to attorney’s fees and costs for the maintenance of this

           action pursuant to ​42 U.S.C. § 1988.​

                                           COUNT III
                                    Defamation / Libel / Slander

     96.   The preceding paragraphs are realleged and fully incorporated herein by this

           reference.

     97.   Defendants communicated information concerning Mr. Copeland to the entire

           state by publishing it in the news and media.

     98.   The information impugned Mr. Copeland’s honesty, integrity, virtue and

           reputation, and exposed him to public contempt and ridicule

     99.   Defendants knew, or reasonably should have known that the information they

           were publishing was false.


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     100.   Mr. Copeland suffered actual injury because of defamation by Defendants in that

            his honor, reputation and integrity have been called into question such that he has

            been rendered unable to find employment in his chosen field.

     101.   As libel is the communication of defamatory information by written words, or by

            some form that has the characteristics of written words, Defendants have libeled

            Mr. Copeland through their publication of false and defamatory information in the

            Idaho State Journal.

     102.   As slander is a form of defamation by any other means, Defendants have

            slandered Mr. Copeland by their publication of false and defamatory information

            to Bannock County employees and community members.

     103.   Defendants statements and publications were made maliciously.

     104.   Mr. Copeland has been damaged in excess of $500,000 by Defendants’

            defamation.

                                            COUNT IV
                                       Bannock County Policy

     105.   The preceding paragraphs are realleged and fully incorporated herein by this

            reference.

     106.   Robert Poleki, as Bannock County Clerk, was the final policy maker in his office.

     107.   His acts represented official policy of Bannock County at the time when he

            published the false and defamatory information regarding Mr. Copeland.

     108.   The deprivation of Plaintiff’s federal rights are attributable to the enforcement of

            an unconstitutional practice, custom, or policy.




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     109.   An unconstitutional governmental policy can be “inferred from a single decision

            taken by the highest officials responsible for setting policy in that area of the

            government's business.” ​St. Louis v. Praprotnik​, 485 U.S. 112, 123, 108 S. Ct.

            915, 924 (1988).

     110.   “Such a body may...be sued directly if it is alleged to have caused a constitutional

            tort through ‘a policy statement, ordinance, regulation, or decision officially

            adopted and promulgated by that body's officers.’” ​Monell v. New York City Dept.

            of Social Services,​ 436 U. S. 658, 690 (1978). ​St. Louis v. Praprotnik​, 485 U.S.

            112, 121, 108 S. Ct. 915, 923 (1988).

     111.   “The isolated decision of an executive municipal policymaker... [can]... give rise

            to municipal liability under § 1983.” ​St. Louis v. Praprotnik​, 485 U.S. 112, 139,

            108 S. Ct. 915, 932 (1988).

     112.   Defendant Bannock County, through the statements, decisions and/or policies of

            Mr. Poleki, depriving Mr. Copeland of his rights to due process, including

            through denying him a name clearing hearing, defaming him, refusing to provide

            him with information to rebut or respond to unfounded public statements and

            ruining his reputation.

     113.   Bannock County’s actions damaged Mr. Copeland, including impeding his ability

            to obtain employment in his chosen field, and taking from him the property and

            liberty interests he possesses in his good name and reputation.

     114.   Defendant’s conduct in making slanderous, libelous and defamatory accusations

            was so reckless and irresponsible that it shocks the conscience.



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     115.   Defendant’s conduct violated Mr. Copeland’s right to due process of law, in

            violation of the Fourth, Fifth and/or Fourteenth Amendments to the ​United States

            Constitution​, ​42 U.S.C. § 1983 and the ​Idaho Constitution Article I, Section 1

            when he, along with the other Defendants, destroyed Mr. Copeland’s good name,

            reputation and honor through false accusations published to the entire community

            and state in the Idaho State Journal without a hearing or due process.

     116.   Mr. Copeland is entitled to attorney’s fees and costs for the maintenance of this

            action pursuant to ​42 U.S.C. § 1988.​

                                               COUNT V
                                               Negligence

     117.   The preceding paragraphs are realleged and fully incorporated herein by this

            reference.

     118.   As Bannock County Clerk, Poleki had a duty of care recognized by law to verify

            defamatory information prior to publishing it.

     119.   As an Idaho State Police Officer, Sellers had a duty of care recognized by law to

            verify defamatory information prior to publishing it.

     120.   Defendant Poleki breached his duty of care by publishing false and defamatory

            information regarding Mr. Copeland listed above in paragraph 14 to Bannock

            County employees, and the residents of the entire state by publishing it in the

            Idaho State Journal prior to conducting any investigation or verification of the

            information.




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      121.   Defendant Sellers breached his duty of care by coercing, threatening or otherwise

             causing witnesses to make untrue statements about Mr. Copeland, and then

             publishing them.

     122.    Poleki and Seller’s conduct in publishing the false information caused the

             resulting injuries to Mr. Copeland’s reputation and ability to obtain employment

             in his chosen field.

     123.    Defendants failed to exercise reasonable care to avoid injury to Mr. Copeland’s

             reputation and ability to find work.

     124.    Due to his inability to find work in his chosen field, Mr. Copeland has been

             damaged by Defendants in a sum exceeding $500,000.

     125.    It was reasonably foreseeable that Defendants’ breaches of their duties of care

             would result in this type of damage to Mr. Copeland’s reputation and ability to

             find work.

     126.    Defendants are liable for their negligent acts under Idaho Code Title 6, Chapter 9.

     127.    Mr. Copeland is entitled to attorney’s fees and costs for the maintenance of this

             action pursuant to ​42 U.S.C. § 1988.​

                                           COUNT VI
                                        Implied Defamation

     128.    The preceding paragraphs are realleged and fully incorporated herein by this

             reference.

     129.    Defendants made statements by implication or context, conveying a false

             impression to those who heard or read the statements, and juxtaposed a series of

             facts so as to imply a defamatory connection between them.


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     130.   A number of the defamatory statements by Defendants also created a defamatory

            implication by omitting facts, and the statements were not statements of opinion,

            but were presented as fact.

     131.   Through their conduct in publishing the defamatory statements, Defendants

            demonstrated that they intended to convey the defamatory information, and that

            they endorsed its publication.

     132.   Due to his inability to find work in his chosen field in Bannock and Bingham

            County, Mr. Copeland was forced to move to another state to seek employment.

     133.   Due to the defamatory implications by Defendants, Mr. Copeland was refused

            employment opportunities.

     134.   Due to his inability to find work in his chosen field because of Defendants’

            defamatory publications, Mr. Copeland has been damaged by Defendants in

            excess of $500,000.

     135.   The implicative statements by Defendants were false.

                                            COUNT VII
                                  Invasion of Privacy - False Light

     136.   The preceding paragraphs are realleged and fully incorporated herein by this

            reference.

     137.   As detailed herein above, Defendants Poleki and Sellers published false and
            defamatory information regarding Dan Copeland to the public in the Idaho State
            Journal and to Bannock County employees.
     138.   The false and defamatory information conveyed a false impression by portraying
            Mr. Copeland in a false light as a person who would misappropriate or steal
            money from the county taxpayers.


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     139.   Any reasonable person of ordinary sensibilities would find this kind of action
            highly offensive and embarrassing.
     140.   Defendants published the information with reckless disregard as to its
            offensiveness, falsity and/or malice.

  WHEREFORE​, Plaintiff respectfully prays for judgment against Defendants as follows:

     1.     For recovery of all special and general damages sustained as a direct and

            proximate result of the Defendants wrongful acts, which acts include but are not

            limited to: defamation, both libel and slander, and violations of constitutional

            rights, and any other wrongful acts of the Defendants, in excess of $500,000;

     2.     For the recovery of all reasonable costs and attorney’s fees pursuant to Federal

            law, including, but not limited to ​42 U.S.C. § 1988;​

     3.     For any and all further relief the Court deems just and equitable;

     4.     Plaintiff demands a trial by jury in this matter.

  DATED this 13th day of March, 2019.



                                           /s/ Bron Rammell
                                           BRON RAMMELL




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